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12                                UNITED STATES DISTRICT COURT

13                               NORTHERN DISTRICT OF CALIFORNIA

14                                    SAN FRANCISCO DIVISION

15    UNITED STATES OF AMERICA,                           Criminal No. 3:21-CR-00155-JD

16           Plaintiff,                                   GOVERNMENT’S RESPONSE TO
                                                          DEFENDANT MOTION TO COMPEL
17
                            v.                            Hearing.: October 17, 2022
18                                                        Time:     10:30 am
      CARLOS E. KEPKE,                                    Place:    Courtroom 11, 19th Floor
19
             Defendant.
20

21          The Court should deny Defendant’s Motion to Compel Discovery (“Motion to Compel”), ECF
22 No. 81. The legal analysis, litigation strategies, plea negotiations, and emails of Robert Smith’s

23 attorneys are not evidence, are not relevant to the charges in the Indictment, do not constitute Brady or

24 Giglio evidence, and pursuant to Federal Rule of Evidence 408, are inadmissible. Brady v. Maryland,

25 373 U.S. 83, 87 (1963); Giglio v. United States, 405 U.S. 150, 154-55 (1972). Furthermore, Defendant

26 has already been provided extensive discovery regarding Robert Smith including: Smith’s Non-

27 Prosecution Agreement (“NPA”) and attached Statement of Facts; Smith’s grand jury testimony;

28 numerous Memoranda of Interview (“MOI”); voluminous transactional and financial records; and a


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 1 lengthy letter encapsulating relevant factual representations made to the government by Smith’s

 2 attorneys. Defendant’s due process rights are more than adequately protected by the discovery already

 3 provided. Defendant’s instant discovery request constitutes nothing more than an attempt to obtain the

 4 content of plea negotiations between Smith’s attorneys and the prosecution which are irrelevant to the

 5 charges in the Indictment.

 6            I.       Defendant has Already been Given Voluminous Brady and Giglio Evidence Related

 7 to Robert Smith

 8            On October 9, 2020, after a 4 year grand jury investigation, Robert Smith, Defendant’s client,

 9 entered into an NPA with the government. The NPA included the agreement itself, a Statement of Facts

10 signed by Smith and his attorneys, a selected waiver of Smith’s attorney / client privilege, and an

11 agreement to pay approximately $140 million in unpaid federal income tax and penalties (including a

12 fraud penalty). The NPA and the Statement of Facts are publicly available and were provided to

13 Defendant in discovery on April 22, 2022. The Motion to Compel attaches Smith’s NPA as an exhibit,

14 see Motion to Compel, at Exhibit A, ECF No. 81-2, but does not attach the associated Statement of

15 Facts. The Statement of Facts is attached hereto as Exhibit 1, and provides a summary of Smith’s

16 involvement with Defendant. As part of the NPA, Smith began cooperating with the government in this

17 investigation. This cooperation included a proffer by Smith’s attorneys on June 2, 2020, three

18 interviews of Smith by IRS CI Special Agents and prosecutors, and testimony before the grand jury. For

19 each meeting between Smith and the government, and the June 2, 2020 attorney-proffer, an MOI was

20 prepared. All of these MOIs and transcripts have been provided to Defendant as follows:

21                               Item or Interview Date                   Date Provided to Defendant

22            1)       Vista Equity Partners Business Records                    June 17, 2021

23            2)       Smith Divorce Records                                     July 19, 2021

24            3)       Smith’s Tax Returns and IRS Evidence                      July 19, 2021

25            4)       June 2, 2020 Smith Attorney-Proffer MOI                   August 2, 2022;

26            5)       August 13 & 14, 2020 Proffer by Smith MOI                 February 11, 2022;

27            6)       March 17, 2021 Interview of Smith MOI                     November 11, 2021;

28            7)       March 18, 2021 Grand Jury Testimony                       May 31, 2022;


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 1            8)        July 26, 2022 Interview of Smith                        September 16, 2022.

 2            The above list is by no means exhaustive. In addition, Defendant has been provided thousands

 3 of pages of additional Rule 16 discovery related to Smith, including emails, bank records, other financial

 4 records, and records from Smith’s company Vista Equity Partners. In addition to these items, on August

 5 12, 2022, the government provided to Defendant a 29-page letter summarizing factual representations

 6 made to the government by Smith’s attorneys. This letter was provided in accordance with the

 7 government’s discovery obligation under Giglio as a summary of discussions with Smith’s counsel

 8 about tangible evidence that may have the potential to be inconsistent with evidence provided to

 9 Defendant in discovery. The government respectfully submits that the extensive discovery provided to

10 Defendant in this case regarding Smith more than satisfies its obligations to Defendant under Brady and

11 Giglio and ensures that Defendant’s due process rights are protected.

12            II.      The Requested Discovery Does Not Constitute Relevant Evidence and Is Excludable

13 Under Rule 408

14            Defendants have the Constitutional right to discovery of evidence which might call into question

15 the credibility of witness expected to testify against them. Giglio v. United States, 405 U.S. at 154

16 (citing Brady v. Maryland, 373 U.S. at 87). Such evidence, however, is material only if “there is a

17 reasonable probability that had the evidence been disclosed to the defense the result of the proceeding

18 would have been different.” United States v. Bagley, 473 U.S. 667, 682 (1985) (error where government

19 failed to disclose contracts between witnesses and government). The government’s obligation to

20 provide exculpatory and impeachment evidence includes prior statements of witnesses which may reveal

21 any potential inconsistencies, promises, or inducements to testify. United States v. Acosta, 357 F. Supp.

22 2d 1228, 1232, (D. Nev 2005). Impeachment, or Giglio evidence, does not however, include the

23 opinions of witness’ attorneys, their legal analyses, litigation strategies, or the communications between

24 witness’ attorneys and prosecutors during plea negotiations. Fed. R. Evid. 408, 410; see also Acosta,

25 357 F. Supp. 2d at 1244 (prior statements of witnesses constitute Giglio materials, but the “notes,

26 memoranda and mental impressions” of counsel do not).

27            Communications during plea negotiations between the attorney of a codefendant or witness and

28 the government are not evidence, but instead, constitute the mental impressions, legal analyses, and


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 1 opinions of the participating attorneys – not the witness. The opinions and legal strategies of witness’

 2 attorneys are not relevant to the credibility those witnesses. See United States v. AU Optronics, 09-cv-

 3 0110-SI, 2011 WL 6778520, p2 (N.D. Cal. Dec. 23, 2011) (internal communications relating to plea

 4 negotiations not discoverable). Discussions between attorneys are not the same as plea agreements,

 5 immunity agreements, inducements, or prior statements of fact witnesses unless they recount the

 6 expected testimony of prospective witnesses. Id. Counsels’ discussions with prosecutors also constitute

 7 inadmissible hearsay. Fed. R. Evid. 801.

 8            In addition to attorneys’ plea negotiations for one co-defendant simply not being relevant to the

 9 prosecution of another co-defendant, the Federal Rules of Evidence, and applicable case law, reflect the

10 systemic need for such negotiations to remain confidential. See United States v. Roti, 484 F.3d 934,

11 945-46 (7th Cir. 2007) (Rule 408 applies to criminal cases – evidence of settlement negotiations

12 inadmissible); see also United States v. Babajian, 07-cr-00755-DDP, 2009 WL 412333, p3, n.2 (C.D.

13 Cal. Feb. 17, 2009) (compromise offers and negotiations not admissible to impeach). Disclosure of plea

14 negotiations, legal opinions and litigation strategies would have a “chilling” effect on the criminal legal

15 process – particularly, candid negotiations between counsel and prosecutors. United States v. Valencia,

16 826, F.2d 169, 173 (2d Cir. 1987); United States v. Weaver, 992 F. Supp 2d. 152, 157 (E.D.N.Y. 2014)

17 (discussion between counsel preliminary to plea agreement not discoverable). If communications,

18 negotiations, exchange of legal theories, and opinions between a defense counsel and a prosecutor were

19 subject to possible discovery, these very vital discussions will be much more guarded, and the subject

20 negotiations likely less productive.

21            Plea negotiations, and communications between counsel and the government concerning legal

22 impressions and opinions are distinguishable and distinct from “attorney-proffers” wherein a witness’s

23 attorney proffers what a witness’s testimony is likely to include. Acosta, 357 F. Supp. 2d at 1232

24 (distinguishing United States v. Sudikoff, 36 F.Supp. 2d 1196 (C.D. Cal 1999). Sudikoff, and similar

25 cases, are easily distinguishable from this case. In Sudikoff a witness’s attorney’s notes were held to be

26 discoverable because those notes reflected an “attorney-proffer” of the witness’s expected immunized

27 testimony, which led to the witness in question being granted statutory immunity. Sudikoff, 36 F. Supp.

28 2d at 1201. The Sudikoff court held that these “proffer notes” were required to be disclosed under Giglio


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 1 because they contained the potential of revealing inconsistencies in the prospective witness’s testimony.

 2 Id. The substance of plea negotiations, and the legal analysis and opinions of the attorneys themselves

 3 was not at issue in Sudikoff. United States v. Triumph Capital Group, Inc., 544 F.3d 149, 161-62 (2d

 4 Cir. 2008) is also distinguishable from this case because the discovery withheld in Triumph Capital also

 5 consisted of notes of a proffer given by a key witness that appeared to relay a version of events

 6 inconsistent with other discovery. Id. In the instant case, however, unlike the situations in Sudikoff and

 7 Triumph Capital, the government has already provided Defendant with the substance of Smith’s

 8 expected testimony – multiple times. Unlike Sudikoff and Triump Capital, Defendant here has been

 9 provided with MOIs, transcripts, and Smith’s NPA Statement of Facts which each represent a summary

10 of Smith’s expected testimony. The government has also provided Defendant with a memorandum

11 summarizing an attorney-proffer of Smith’s expected testimony – a proffer at which Smith was not even

12 present. While the Motion to Compel claims to seek merely “proffer” statements by Smith, see Motion

13 to Compel, page 10, that is not accurate. The Motion to Compel actually seeks details of plea

14 negotiations, legal analysis, and communications between Smith’s attorneys and the government. See

15 Motion to Compel, page 12. This request is not at all similar to the discovery at issue in Sudikoff and

16 Triumph Capital and does not constitute relevant evidence.

17            The Courts in Acosta and AU Optronics succinctly described the difference between discovery of

18 notes of “attorney-proffers” and “plea negotiations.” Acosta, 357, F. Supp. 2d. at1244-45; AU Optronics

19 Corp, 2011 WL 6778520 at p2. Notes regarding an attorney-proffer, constructively representing a

20 witness’s likely testimony, may include representations inconsistent with how a witness may testify.

21 Such possible inconsistencies may constitute Giglio material, or impeachment evidence, and may be

22 useful to a defendant in challenging a witness’s credibility. Id. On the other hand, communications

23 between counsel and the government that do not purport to represent a witness’s expected testimony, are

24 nothing more than an attorney’s opinion, conjecture, legal strategy, and analysis. They in no way impact

25 the credibility of the actual testifying witness. These discussions, preliminary to a plea agreement or

26 NPA, are inadmissible under Rule 408 for any purpose, and irrelevant to a witness’s expected testimony.

27 Id.

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 1            III.     Argument

 2            Here Defendant makes a number of incorrect statements in his Motion to Compel, and conflates

 3 the difference between notes and memorandum of “attorney-proffers,” and discussions between counsel

 4 preliminary to Smith’s NPA. First and foremost, Defendant incorrectly states that the government has

 5 refused to provide notes or memoranda of discussions with Smith. See Motion to Compel, page 1. This

 6 is incorrect. In fact, the government has produced to Defendant MOIs for all of its meetings with Smith.

 7 The government has also provided a copy of Smith’s grand jury transcript and a memorandum of the

 8 attorney-proffer made by Smith’s attorneys to the government on June 2, 2020. These materials

 9 provided are in addition to the NPA Statement of Facts which also summarizes Smith’s expected

10 testimony. What Defendant’s Motion to Compel actually seeks are the details of the negotiations

11 between Smith’s attorneys and the government which culminated in Smith’s NPA executed on October

12 9, 2020. There is no scenario in which Smith’s attorney’s legal analysis, litigation strategies, and plea

13 negotiations with the government have any probative value of Defendant’s guilt or innocence, or bearing

14 on Smith’s credibility. It would be completely improper to attempt to impeach Smith on cross-

15 examination with the statements made by his attorneys to the government during plea negotiations. Not

16 only are statements made by Smith’s attorneys during plea negotiations inadmissible under Rule 408,

17 they are also hearsay under Rule 801, and constitute inadmissible extrinsic evidence Rule 608(b).

18 Furthermore, since Smith’s attorneys’ statements and plea negotiations are inadmissible under several

19 rules of evidence, they are highly unlikely to be “material” as that term is defined in the Giglio context

20 by Bagley. United States v. Bagley, 473 U.S. at 682. In short, these plea negotiations constituted legal

21 discussions by persons not directly involved in the allegations contained in the Indictment, not

22 statements by fact witnesses. They do not impact Defendant’s due process rights since they are simply

23 not admissible during cross examination of Smith and do not represent the statements of a fact witness.

24 Defendant’s due process and confrontation clause rights are more than adequately protected by the

25 volume of discovery provided by the government to Defendant regarding Smith. Defendant has ample

26 discovery regarding Smith’s prior statements and testimony to challenge Smith’s credibility and veracity

27 if Defendant’s counsel chooses to do so.

28            In addition, prior to the initial proffer of Smith on August 13-14, 2021, on June 2, 2020, as part


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 1 of plea negotiations, Smith’s attorneys met with the government and proffered what Smith could testify

 2 about if he were to cooperate in the government’s ongoing investigation of Robert Brockman.1 As part

 3 of its ongoing discovery, as listed above, the government has provided to Defendant a copy of the MOI

 4 drafted by IRS Special Agents memorializing the June 2, 2020 attorney-proffer. The government’s

 5 provision of this memorandum, which is analogous to the discovery at issue in Sudikoff and Triumph

 6 Capital, make the holdings in these cases moot and inapplicable to this case. The requests made by

 7 Defendant in his Motion to Compel, and prior discovery requests, go far beyond any discovery

 8 requested in Sudikoff and Triumph Capital.

 9            Since Defendant has already been provided in discovery the substance of Smith’s meetings with

10 the government, his expected testimony, his prior grand jury testimony, and a memorandum

11 summarizing the proffer by his attorneys, the subject of Defendant’s Motion to Compel must pertain to

12 material that Defendant has not been provided, i.e. emails, notes and materials relating to discussions

13 between Smith’s counsel and the government. Defendant’s claims to the contrary in the Motion to

14 Compel are simply not accurate. The meetings between Smith’s counsel and the government were

15 primarily concerned with counsels’ legal analyses, opinions, litigation strategies, and plea negotiations

16 on Smith’s behalf. To the extent Smith’s attorneys gave to the government any tangible documentary

17 evidence, i.e. emails, financial records etc., during these negotiations, those items already have been

18 provided to Defendant in discovery. In an abundance of caution, however, in the outside chance that

19 any inconsistencies regarding this tangible evidence may be present, factual representations made by

20 Smith’s attorneys during these negotiations have been summarized in the government’s August 12, 2022

21 letter to Defendant. Given the plethora of evidence provided to Defendant regarding Smith, including

22 his business records, income tax returns and records, divorce records, testimony transcripts,

23 memorandum of interview, and his NPA and Statement of Facts, Defendant’s attorneys have more than

24 sufficient evidence, in accordance with Giglio, to adequately challenge Smith’s credibility, and/or

25 determine if Smith made any inconsistent statements to the government.

26

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              1
28           United States v. Brockman, 4:21cr009 GCH (SDTX). Brockman was indicted on October 1,
     2020, but on August 5, 2022 Mr. Brockman passed away and the case has now been dismissed.

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 1            IV.      Conclusion

 2            The legal opinions, analysis of evidence, and litigation strategy of Smith’s attorneys are not at all

 3 relevant to the charges against Defendant, do not have any bearing on Smith’s credibility, and as such,

 4 their disclosure is not mandated to protect the due process rights of Defendant under Brady, Giglio or

 5 Bagley. It is the actual documentary and testimonial evidence representing the financial relationship

 6 between Smith, Defendant, and the IRS that is the focus of the charges currently pending, not Smith’s

 7 attorney’s opinions and analysis of this evidence, or the substance of their plea negotiations with the

 8 government. These materials represent not only inadmissible plea discussions, but loosely defined, the

 9 attorney work product of Smith’s attorneys, and as such should remain confidential for the reasons

10 stated herein.

11
     Respectfully submitted on September 16, 2022,
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                                                                    United States Attorney
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                                                                    s/ Corey J. Smith
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 1                                               CERTIFICATE OF SERVICE

 2

 3           I the undersigned do hereby certify that on the 16th of September, 2022, I electronically filed the

 4 foregoing Government’s Response to Defendant’s Motion to Compel using the ECF electronic filing

 5 system, which will send notice of electronic filing to counsel of record.

 6

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